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                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA

Anthony A. Mitchell, Jr.,

Plaintiff,

v.

Madison Johnson,
an individual,

Roco Real Estate Jacksonville LLC,
a Michigan limited liability company,

Roco Management LLC,
a Michigan limited liability company, and

Roco Real Estate, LLC,
a Michigan limited liability company.

Defendants.

                                      COMPLAINT

                                         Parties

       1.     Plaintiff Anthony A. Mitchell, Jr., is a citizen of Georgia.

       2.     Defendant Madison Johnson is a citizen of Alabama.




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      3.     Defendant Roco Management LLC is a Michigan limited liability

company whose principal place of business is Bloomfield Hills, Michigan.1

      4.     The members of Roco Management LLC are unknown at this time

      5.     Defendant Roco Real Estate LLC is a Michigan limited liability

company whose principal place of business is Bloomfield Hills, Michigan.

      6.     Roco Real Estate Jacksonville LLC is a Michigan limited liability

company whose principal place of business is Bloomfield Hills, Michigan.

                                         Venue

      7.     Mr. Mitchell alleges that the amount in controversy exceeds $75,000

exclusive of interest and court costs.



1
 Plaintiff’s counsel is fully aware that the citizenship of the members of each LLC
named as a defendant in this case will determine the issue of whether the parties
are actually diverse from one another because corporations are citizens both of
the states where they were incorporated and where theie principal places of
business are located. Rolling Greens MHP, L.P. v. Comcast SCH Holdings, L.L.C.,
374 F.3d 1020, 1021 n. 1 (11th Cir. 2004)(citing 28 U.S.C. §1332(c)(1). The LLCs
named as defendants in this case are ALL Michigan LLCs with their principal places
of business in Michigan. When plaintiff’s counsel contacted a clerk at the business
services division of the Michigan Secretary of State to ascertain the identities of
the members of each LLC, the clerk advised that Michigan law does not require
incorporators/organizers of an LLC to actually identify or disclose the LLC’s
member(s). The clerk advised that the filings for all of the LLCs named in this case
omitted the identities of their members. Consequently, the Michigan Secretary of
State was unable to identify the members of the defendant LLCs. Certainly, when
served, the defendant LLCs can identify their members for the Court and the
plaintiff.
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      8.      Based on present information and belief, the parties are completely

diverse pursuant to 28 U.S.C. §1332(c)(1).

      9.      Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391(a)(2),

which says that venue is appropriate in a jurisdiction “in which a substantial part

of the events or omissions giving rise to the claim occurred.”

      10.     The incident giving rise to this complaint occurred in Jacksonville,

Calhoun County, Alabama, which sits in the Northern District of Alabama,

Northeastern Division.

                                        Facts

      11.     In 2016, on information and belief, defendants Roco Management

LLC and/or Roco Real Estate LLC and/or Roco Real Estate Jacksonville LLC owned,

operated, and managed an apartment complex called The Reserve at Jacksonville

(“The Reserve”) and leased apartments at The Reserve to students attending

Jacksonville State University.

      12.     In June 2016, Mr. Mitchell’s son, Caleb Mitchell, was preparing to

attend JSU.

      13.     Mr. Mitchell signed an apartment lease with The Reserve, so that

Caleb could live in an apartment at The Reserve while attending JSU.

      14.     The lease identifies The Reserve as “the landlord.”

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      15.   The lease prohibited Caleb from having any pets of any kind.

      16.   At the time, Mr. Mitchell’s son also had three roommates.

      17.   Two of Caleb’s roommates were defendant Madison Johnson and

Sydney Sorrell.

      18.   Ms. Johnson’s and Ms. Sorrell’s leases at The Reserve also prohibited

them from having any pets in the apartment they shared with Caleb Mitchell.

      19.   On information and belief, the lease that Caleb, Ms. Johnson, and

Ms. Sorrell signed says, “¶16. Pets: Pets are not allowed even temporarily

anywhere in the Premises or Common Areas without Landlord’s written

authorization as set forth in a Pet Addendum.”

      20.   No one had written permission to bring a dog into the apartment

that Caleb, Ms. Sorrell, and Ms. Johnson shared.

      21.   Additionally, on information and belief, attached as Schedule A to the

lease that Caleb, Ms. Johnson, and Ms. Sorrell signed were the Community Rules

and Regulations.

      22.   In the Community Rules and Regulations, Part II, Actions of Residents,

¶1, it reads, “Pets are not allowed in the apartment without Landlord’s written

approval by means of a signed Pet Addendum.”




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      23.   No one had a Pet Addendum that permitted dogs in the apartment

that Caleb, Ms. Sorrell, and Ms. Johnson shared.

      24.   Additionally, at the time of the incident made the basis of this case,

Ms. Sorrell was an employee or an agent of Roco Management LLC, Roco Real

Estate LLC, and/or Roco Real Estate Jacksonville LLC and knew all of the rules

regarding pets.

      25.   Caleb, Ms. Sorrell, and Ms. Johnson moved in to the apartment at

The Reserve.

      26.   The    apartment    had   four   separate/private   bedrooms,    four

separate/private bathrooms, a common kitchen, and a common living area/den.

      27.   Over the next few months, Ms. Johnson began to allow a friend to

bring his dog, which was a pit bull mixed breed, to the apartment.

      28.   The owner of the pit bull mixed breed also lived in an apartment at

The Reserve property where Caleb, Ms. Johnson, and Ms. Sorrell lived.

      29.   On numerous occasions that the pit bull mixed breed was in Caleb’s,

Ms. Johnson’s, and Ms. Sorrell’s apartment, the dog was not in his kennel, was

not restrained in any way, and was not under control.

      30.   The pit bull breed is an animal known to have dangerous

propensities.

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      31.     In late November 2016, the pit bull mixed breed lunged at another

person.

      32.     On December 4, 2016, the pit bull mixed breed was at the apartment

and in the common area shared by Caleb and his roommates.

      33.     The animal was not in his kennel, was not restrained in any way, and

was not under control.

      34.     Ms. Sorrell, who was the defendants’ employee, knew that the

animal was not in his kennel, was not restrained in any way, and was not under

control because she observed the animal that day.

      35.     Additionally, Ms. Sorrell knew that both her lease and Ms. Johnson’s

lease at The Reserve prohibited them from having pets in the apartment they

shared with Caleb Mitchell.

      36.     Additionally, Ms. Sorrell knew that The Reserve lease signed by the

animal’s owner did not permit the owner to take the animal into anyone else’s

apartments at The Reserve or to leave it at anyone else’s apartment.

      37.     That day, Ms. Johnson and the animal’s owner departed from the

apartment that she shared with Caleb and Ms. Sorrell but left the animal there.




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      38.      As the defendants’ employee, Ms. Sorrell knew that the animal had

been left there and that the animal was neither in a kennel nor restrained and

that it was not otherwise under control.

      39.      As the defendants’ employee, Ms. Sorrell failed to take action to

remove the animal from the apartment, failed to notify her employers, the

defendants, and/or management that the animal was in the apartment, and

otherwise failed to enforce The Reserve’s rules prohibiting pets in that apartment.

      40.      On December 4, while inside his son’s apartment and while standing

in the living area/den shared by Caleb, Ms. Johnson, and Ms. Sorrell, Mr. Mitchell

approached the animal.

      41.      The animal lunged at Mr. Mitchell, bit him on the face, and

punctured his cheek.

      42.      As a direct result of the bite, Mr. Mitchell sustained serious injuries,

which were:

      a.       facial lacerations and punctures;

      b.       immediate fright and fear;

      c.       an infection that required hospitalization and several days/hours of

               intravenous antibiotic therapy;

      d.       permanent scars;

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       e.       medical bills totaling $43,484.94;

       f.       lost wages of about $1,000;

       g.       physical pain for which Mr. Mitchell claims at least $100,000;

       h.       emotional harm for which Mr. Mitchell claims at least $75,000;

       i.       and permanent injury for which Mr. Mitchell claims at least $50,000.

                      Claims 1 and 2: Negligence and Wantonness
                            (against all named defendants)

       43.      Mr. Mitchell incorporates all the preceding paragraphs by reference

as if fully set out here.

       44.      The defendants owed the duty of reasonable care to Mr. Mitchell.

       45.      The named and fictitious party defendants breached the duty of

reasonable care.

       46.      The defendants acted either unreasonably or recklessly or with a

conscious disregard for Mr. Mitchell’s rights or safety.

       47.      The defendants’ conduct caused Mr. Mitchell’s harm.

       48.      Alternatively, the defendants’ conduct may have combined and

concurred with the conduct of other persons not named as defendants in this

lawsuit to cause Mr. Mitchell’s harm.




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      49.   Roco Management LLC, Roco Real Estate LLC, and/or Roco Real

Estate Jacksonville LLC are vicariously liable to Mr. Mitchell for the acts of their

employee Sydney Sorrell.

      50.   Alternatively, Roco Management LLC, Roco Real Estate LLC, and/or

Roco Real Estate Jacksonville LLC are liable to Mr. Mitchell pursuant to respondeat

superior or because Ms. Sorrell acted as their agent.

      51.   As a result of the wrongful acts, omissions, and conduct done to him,

Mr. Mitchell suffered the above-listed damages.

      Wherefore, on the basis of the foregoing, Mr. Mitchell requests that a

verdict be rendered in his favor for compensatory and punitive damages, that the

Court enter judgment consistent with this verdict, and that the Court award to

him interest from the date of the judgment and the costs incurred by the Court in

managing this lawsuit.

                                   Jury Demand

                    Mr. Mitchell demands trial by a struck jury.

                                      Respectfully submitted,

                                      /s/William “Bo” Johnson III (ASB2310M69J)
                                      Attorney for Anthony A. Mitchell Jr.




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    Please serve the defendants by certified mail at the following addresses

                             Ms. Madison Johnson
                             823 County Road 447
                       Fort Payne, Alabama 35968-4216

                           Roco Management, LLC
               Registered Agent for Service: Cogency Global, Inc.
                       2 North Jackson Street, Suite 605
                           Montgomery, AL 36104

                            Roco Real Estate, LLC
               Registered Agent for Service: Cogency Global, Inc.
                       2 North Jackson Street, Suite 605
                           Montgomery, AL 36104

                       Roco Real Estate Jacksonville, LLC
                  Registered Agent for Service: David Colman
                    33 Bloomfield Hills Parkway, Suite 135
                          Bloomfield Hills, MI 48304




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